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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                          CRIMINAL NO. 16-cr-00297-03

 VERSUS                                            JUDGE WALTER

 RACHEL A. FOTHERGILL                              MAGISTRATE JUDGE HORNSBY



                         REPORT AND RECOMMENDATION

        Upon the request of the District Judge, and with the written and oral consent of

 Defendant, this matter came before the undersigned U.S. Magistrate Judge on July 26, 2017,

 for administration of a felony guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Defendant was present with counsel, Betty Marak.

        After the hearing, it is the finding of the undersigned that: (1) Defendant is fully

 competent to enter this guilty plea; (2) The plea agreement was properly signed and filed; (3)

 Defendant’s guilty plea to Count 1 of the Indictment was freely and voluntarily entered, with

 a full understanding of the nature of the charge and the maximum penalties; (4) Defendant

 made a knowing and voluntary waiver of the right to a jury trial with the full assistance of

 counsel; and (5) The guilty plea is fully supported by the factual basis for each of the

 essential elements of the offense. Both the Government and Defendant waived their right

 to object to this Report and Recommendation. Accordingly,
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        IT IS RECOMMENDED that the District Judge accept the guilty plea of Defendant

 in accordance with the terms of the plea agreement filed in the record of these proceedings,

 and that Defendant be adjudged guilty of the offense charged in Count 1 of the Indictment.

        IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their

 right to object, that the District Judge immediately adopt this Report and Recommendation

 without passage of the customary delays.

        THUS DONE AND SIGNED in Shreveport, Louisiana, this 31st day of July, 2017.




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